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Certification and Authorization of Named Plaintiff Pursuant to Federal
Securities Laws
The individual or institution listed below (the "Plaintiff") authorizes and, upon execution of the accompanying
retainer agreement by The Rosen Law Firm P.A., retains The Rosen Law Firm P.A. to file an action under the
federal securities laws to recover damages and to seek other relief against Signature Bank The Rosen Law Firm
P.A. will prosecute the action on a contingent fee basis not to exceed one-third of the recovery and will advance all
costs and expenses. All payments of fees and expenses shall be made only after Court review and approval. The
Signature Bank Retention Agreement provided to the Plaintiff is incorporated by reference herein and is effective,
upon execution and delivery by The Rosen Law Firm P.A.

First Name:                             Matthew
Middle Initial:
Last Name:                              Schaeffer
Mailing Address:
City:                                Redact.
State:
Zip Code:
Country:
Phone:
Email Address:


Plaintiff certifies that:

        1. Plaintiff has reviewed a complaint and authorized its filing or the filing of an amended complaint.
        2. Plaintiff did not acquire the security that is the subject of this action at the direction of plaintiff's counsel or in
           order to participate in this private action or any other litigation under the federal securities laws.
        3. Plaintiff is willing to serve as a representative party on behalf of a class, including providing testimony at
           deposition and trial, if necessary.
        4. Plaintiff represents and warrants that he/she/it is fully authorized to enter into and execute this certification.
        5. Plaintiff will not accept any payment for serving as a representative party on behalf of the class beyond
           Plaintiff's pro rata share of any recovery, except such reasonable costs and expenses (including lost
           wages) directly relating to the representation of the class as ordered or approved by the court.
        6. Plaintiff has made no transaction(s) during the Class Period in the debt or equity securities that are the
           subject of this action except those set forth below:

Purchases:

Type of Security Buy Date                    # of Contracts       Price per            Exercise Price        Expiration Date
                                                                  Contract
Calls                  03/10/2023            5                    17.9889              70                    04/21/2023




Sales:

Type of Security                  Sale Date                       # of Shares                     Price per Share
Common Stock




I have not sought to serve as a representative party on behalf of a class under the federal securities laws




                                                                                                                          1/2
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                                   during the last three years, except if set forth below.
                                   Not applicable

                                   I declare and certify under penalty of perjury, under the laws of the United States YES
                                   of America, that the foregoing information is true and correct.

                                   By Signing below and submitting this certification form electronically, I intend to   YES
                                   sign and execute this certification pursuant to California Civil Code Section
                                   1633.1, et seq. - and the Uniform Electronic Transactions Act and retain the
                                   Rosen Law Firm, P.A. to proceed on Plaintiff's behalf, on a contingent fee basis.




                                   Date of signing: 03/14/2023 08:25:56 at Eastern Standard Time, USA




                                                                                                                               2/2

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                                    SCHEDULE A

                                    PURCHASES

   DATE          DESCRIPTION              QUANTITY            PRICE
3/10/2023   CALL $70 Exp. 4/21/23             2                       $17
3/10/2023   CALL $70 Exp. 4/21/23              2            $18.4
3/10/2023   CALL $70 Exp. 4/21/23              1            $18.50




                                      SALES

N/A
